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                  Exhibit 1
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                       DECLARATION OF TODD L. LOCHER, M.D.

I, Todd L. Locher, M.D. state for the record the following opinion.

   1.          I graduated from the University of Cincinnati School of Medicine in 1988. I
        completed an internship in internal medicine at the University of Illinois in Chicago in
        1989, and my residency in internal medicine was completed at the University of New
        Mexico in 1991. I served in the United States Air Force from 1991–1995 as an internal
        medicine physician, and I was honorably discharged in 1995 with a rank of major. I
        completed a fellowship in pulmonary medicine at the University of Vermont in 1997. I
        am Board certified in pulmonary medicine and sleep medicine. I hold an unrestricted
        license to practice allopathic medicine in the state of Arizona.

   2.          Since finishing training 1997, I have practiced pulmonary and critical care
        medicine in Tucson, Arizona including care for many critically ill and minimally
        symptomatic COVID-19 patients, patients with asthma and patients with cardiac
        problems. Among other positions I have held and currently hold, since 2002, I have been
        Chief of the Section of Pulmonary Medicine at Northwest Medical Center, a 300 bed
        hospital in Tucson, where I served a rotation as Chief of Staff from 2010-2012. I have
        also been medical director of the respiratory care program at Pima Community College
        for the last 14 years. My curriculum vitae is attached as Exhibit A.

   3.        I have reviewed the medical records of Dustin Higgs and Cory Johnson up through
        December 30, 2020, as well as declarations submitted by various experts in this litigation.

   4.          With regards to Mr. Higgs’s asthma, it would seem to be mild or moderate in
        severity. Mr. Higgs is prescribed 440 µg of mometasone daily as maintenance
        medication which would be considered a moderate dose. His medical record on
        03/11/2020 reports nonadherence with his maintenance medication for asthma. Even
        though Mr. Higgs is nonadherent to his maintenance medicine for asthma, his medical
        record suggests Mr. Higgs has minimal symptoms due to asthma and no exacerbations of
        asthma. The most recent entries in his chart with regards to his asthma (9/11/2020 and
        3/11/2020) suggest the patient uses his short acting beta agonist (a medication used for
        symptomatic relief for asthma) for rescue less than once a day and has no nocturnal
        symptoms of asthma. The medical record reports no use of oral corticosteroids or
        hospital stays due to asthma. It is also reported on 03/11/2020 Mr. Higgs’s asthma is
        well controlled with stable peak flow meter readings (a measure of lung function which
        can be used to judge asthma control). The medical record on 9/11/2020 goes on to state,
        “Classification of Asthma severity: somewhere between intermittent to mild persistent
        although he did state at the end of the interview, he feels like his asthma is fairly well
        controlled and he can exercise vigorously.”
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5.           There is evidence in the medical literature suggesting asthma is not a risk factor
      for severe COVID-19 infections, and COVID–19 does not exacerbate asthma. (1,2)

6.           It is therefore my opinion Mr. Higgs’s asthma would not cause or contribute to
      pain or suffering from pulmonary edema after an injection of 5 grams of pentobarbital.

7.           With regards to Mr. Higgs’s mitral regurgitation, this condition was described in
      Mr. Higgs’s medical record as moderate and stable by his cardiology consultant, Newar
      Mercho, M.D. on November 5, 2020. An echocardiogram (ultrasound of the heart used
      to evaluate cardiac structure and function) obtained on Mr. Higgs on May 26, 2020
      showed a left ventricular systolic function and size normal (the left ventricle is the main
      heart chamber which pumps blood to the entire body except for the lungs). There was
      moderate mitral valve regurgitation (a leakage of blood backward from the main chamber
      of the heart, the left ventricle, into a small upper chamber of the heart, the left atrium) and
      no significant change compared to the study on May 7, 2019.

8.            COVID–19 can affect cardiac structure and function which may lead to
      pulmonary edema. The studies showing abnormal cardiac structure and function in
      patients with COVID–19, however to my knowledge, have been performed on
      symptomatic and hospitalized patients. There is no evidence in Mr. Higgs’s medical
      record of any objective or subjective findings which may suggest further cardiac
      dysfunction due to COVID-19. In addition, there is no way for anyone to know if Mr.
      Higgs has any cardiac decompensation without performing a physical exam, laboratory
      studies such as a serum troponin level (a cardiac enzyme which may be detected in the
      blood suggesting a heart injury), a current EKG and echocardiogram. It would not be a
      standard of medical practice to perform such an evaluation on a patient with minimal or
      no symptoms, like Mr. Higgs. Such an evaluation would almost certainly not be helpful
      for any patient.

9.           There is no evidence to suggest that Mr. Higgs’s mitral regurgitation or cardiac
      function has been compromised in any way by COVID–19. There is no evidence in the
      medical literature to suggest mitral regurgitation would lead to earlier or more severe
      pulmonary edema if it develops after an injection with 5 g of pentobarbital.

10.           It is therefore my opinion that Mr. Higgs’s mitral regurgitation would not cause or
      contribute to pain or suffering from any pulmonary edema that might occur after a lethal
      injection of pentobarbital.
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11.            Both Mr. Johnson’s and Mr. Higgs’s experts have opined that these inmates
      would experience pain and suffering from pulmonary edema by virtue of their having
      been diagnosed with COVID-19. In support of their opinions, they cite studies reporting
      abnormal CT scans in patients with COVID-19 who are asymptomatic. The number
      varies widely in the literature from 54% (Inui, et al.) to 94.8% (Meng, et al.) to 44.5% in
      a recent report by the British Institute of Radiology showing abnormal CT scan findings
      in 61 out of 137 asymptomatic patients (3). The authors went on to conclude “the
      distribution and type of pulmonary opacities in asymptomatic cases may resemble the CT
      findings in symptomatic cases. However, asymptomatic and mildly symptomatic cases
      have a lower percentage of lung involvement”. This statement means pulmonary
      opacities (shadows or haziness seen in the lung on CT scan of the chest) are small in
      patients with mild or no symptoms. Patients who have more symptoms of cough,
      shortness of breath and objective findings of low oxygen level or elevated respiratory rate
      typically have more extensive shadows on CT scan of the chest.

12.           Both Mr. Johnson’s and Mr. Higgs’s medical records suggest minimal symptoms.
      They were both tested positive for COVID-19 on December 16, 2020. A chronology of
      Mr. Higgs’ symptoms is as follows here: On 12/16/, 12/17, 12/18, and 12/19, no
      symptoms are reported in the medical record for Mr. Higgs. On 12/20/2020 Mr. Higgs
      complains of a headache and “stuffy nose”, rating his pain a 3 out of 10, with no relief
      from Tylenol. On 12/21/2020, continued headache and nasal congestion, new complaint
      of shortness of breath onset that AM, no other pertinent symptoms are reported. No
      symptoms reported for 12/22 or 12/23/2020. On 12/24/2020, Mr. Higgs complained of
      “scratchy throat” and headache. On 12/25/2020 Patient complains of slight headache, but
      improved, commenting “My head feels better. My breathing feels funny, but I have
      asthma and I think it is that, can you check my oxygen.” Pulse oximetry at that time
      showed an oxygen saturation of 100%. No reported symptoms on 12/26/2020. On
      12/27/2020, Mr. Higgs complains of a mild “stuffy” nose, and a mild but improving
      headache. On 12/28/2020, the medical record reports sore throat and no cough, shortness
      of breath or other symptoms. Temperature was normal. On 12/29/2020, the medical
      record reports no shortness of breath, sore throat or other symptoms. Temperature and
      oxygen saturation were normal. On 12/30/2020, the medical record reports “I have a
      hard time catching my breath, time SOB at times. I feel like I have labored breathing
      sometimes”. Mr. Higgs stated, “I just wanted it documented that I was short of breath
      sometimes. Nothin’s new. I’m fine.” New and worsening symptoms were denied. The
      medical record goes on to state that shortness of breath or dyspnea on exertion were
      denied. Complete resolution of stuffy nose and headache were reported. The record also
      states “denied SOB or DOE upon exam. Reports intermittent feelings of difficulty
      catching my breath.” Examination of the pulmonary system was documented as normal.
      Another entry in the same record reports, “reviewed intermittent symptoms that are
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      reportedly improving, plan of care including routine chest xry and call back criteria”.
      Temperature was normal. A chest x-ray performed on 12/30/2020 at 13:47 was a
      standard frontal and lateral two-view of the chest. The interpreting radiologist, Justin
      Yoon, M.D. reports, “stable chest examination without acute cardiopulmonary process.
      Clear lungs except for unchanged right apical reticular nodular density.” The comparison
      study was 10/18/2018. In other words, there is no evidence on the chest x-ray of any
      lung involvement due to COVID-19. A chronology of Mr. Johnson’s symptoms is as
      follows here: On 12/16/, 12/17, 12/18, and 12/19, no symptoms are reported in the
      medical record for Mr. Johnson. On 12/20/2020 Mr. Johnson reports a dry cough at 08:31
      AM, and reports cough and headache at 12:30 PM. On 12/21/2020 Mr. Johnson reported
      no cough at 10:28 AM and reported a cough at 13:10 PM. No symptoms reported for
      12/22, and 12/23. On 12/24/2020, Mr. Johnson reports a headache. On 12/25/2020 Mr.
      Johnson reports nasal congestion, with no other symptoms. On 12/26/2020, Mr. Johnson
      reports no new symptoms, noting that his breathing has improved. On 12/27/2020, Mr.
      Johnson reports a “little cough”, that is nonproductive, denies difficulty breathing, and
      reports no other symptoms. The medical record on 12/28/2020 reports cough and sore
      throat with no other symptoms and a normal temperature. The medical record on
      12/29/20/20 reports “little cough”, described as nonproductive. Other symptoms were
      denied, and temperature was normal. The medical record on 12/30/2020 reported no
      symptoms. Mr. Johnson stated, “I’m okay, I’m good”. Temperature was normal. Only
      normal body temperatures and oxygen saturations have been recorded in both medical
      records on serial entries. In summary, entries in both medical records report only mild
      symptoms and no objective findings of any significant organ system dysfunction due to
      COVID-19.

13.            In view of Mr. Higgs’s and Mr. Johnson’s minimal symptoms, any findings on a
      CT scan of the chest of either inmate would likely be minor. Moreover, there is no way
      for anyone to know the extent of either inmate’s lung involvement from COVID-19
      without objective evidence such as a CT scan. Obtaining such imaging is not indicated in
      patients with minimal or no symptoms. (4) According to the American College of
      Radiology, “CT should be used sparingly and reserved for hospitalized, symptomatic
      patients with specific clinical indications for CT”. Inmate Higgs did have a chest x-ray
      on December 30, 2020 which showed no evidence of any lung involvement from
      COVID-19. Although a chest x-ray is not as sensitive for detecting such involvement as
      a CT scan, any findings on a CT scan would likely be minor in view of a normal chest x-
      ray.

14.            Further, there is no evidence in the medical literature suggesting an injection with
      pentobarbital would somehow exacerbate symptoms or physiologic abnormalities in
      patients with COVID-19. This means that if pulmonary edema were to occur upon the
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       injection of 5 g of pentobarbital, it is not likely that these inmates would experience
       pulmonary edema more quickly or severely than inmates who have not been diagnosed
       with covID-19 .

 15.             It is my opinion that a diagnosis ofcovID-19, which was established in Mr.
       Higgs and Mr. Johnson on 16 December 2020, would not cause or contribute to pain,
       suffering or excessive shoi.tness of bl.eath after an injection of 5 grams of pentobarbital.
       This opinion holds true assuming Mr. Higgs's and Mr. Johnson's clinical conditions do
       not worsen. The suggestion by these inmatesJ experts that a pentobal.bital injection
       would cause the inmates to experience pain, suffering or respiratory distress is only
       speculation.


 16.            I hold the above opinions to a reasonable degree of medical certainty.




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